 Case 6:21-cv-00425-JDK Document 28 Filed 12/14/21 Page 1 of 2 PageID #: 159
                                                         Revised: 9/3/2015
                      UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TEXAS
                                                          By Nakisha Love at 1:34 pm, Dec 09, 2021
                            __________DIVISION
                            Tyler
                   APPLICATION TO APPEAR PRO HAC VICE



1.This application is being made for the following: Case #__________________________________
                                                              6:21-cv-425-JDK
Style/Parties:________________________________________________________________________
                Texas Medical Association and Dr. Adam Corley v. US Dept of Health and Human Svcs et al.
2. Applicant is representing the following party/ies: __________________________________________
                                                        Amicus Applicants Physicians Advocacy Inst.et al.
3.Applicant was admitted to practice in __________
                                          California (state) on _____________________
                                                                  12/06/2007                  (date).
4. Applicant is in good standing and is otherwise eligible to practice law before this court.
5. Applicant is not currently suspended or disbarred in any other court.
6. Applicant has has not had an application for admission to practice before another court denied (please
circle appropriate language). If so, give complete information on a separate page.
7. Applicant has has not ever had the privilege to practice before another court suspended (please circle).
If so, give complete information on a separate page.
8. Applicant has has not been disciplined by a court or Bar Association or committee thereof that would
reflect unfavorably upon applicant’s conduct, competency or fitness as a member of the Bar (please
circle). If so, give complete information on a separate page.
9. Describe in detail on a separate page any charges, arrests or convictions for criminal offense(s) filed
against you. Omit minor traffic offenses and misdemeanor offenses committed prior to age 18. (See Page 3)
10. There are no pending grievances or criminal matters pending against the applicant.
11. Applicant has been admitted to practice in the following courts:
______________________________________________________________________________
 State of California, USDC - Central District of California, USDC -Northern District of California, Ninth Circuit Court of Appea
12. Applicant has read and will comply with the Local Rules of the Eastern District of Texas, including
Rule AT-3, the “Standards of Practice to be Observed by Attorneys.”
13. Applicant understands that he/she is being admitted for the limited purpose of appearing in the case
specified above only.
Application Oath:
         I, __________________________________________do
             Eric David Chan                                         solemnly swear (or affirm) that the
above information is true; that I will discharge the duties of attorney and counselor of this court faithfully;
that I will demean myself uprightly under the law and the highest ethics of our profession; and that I will
support and defend the Constitution of the United States.

Date _______________
      12/08/2021                                    /s/ Eric D. Chan
                                          Signature __________________________________ (/s/Signature)




                    Application Continued on Page 2
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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                  APPLICATION TO APPEAR PRO HAC VICE (Continued)



                                                   Name (please print) _____________________________________
                                                                         Eric David Chan
                                                   Bar Number /State______________________________________
                                                                        253082 (California)
                                                   Firm Name:       ________________________________________
                                                                        Athene Law, LLP
                                                   Address/P.O. Box: ____________________________________
                                                                          10866 Washington Blvd., #142
                                                   City/State/Zip: _________________________________________
                                                                   Culver City, CA 90232
                                                   Telephone #: _________________________________________
                                                                   310-913-4013
                                                   Fax #: ______________________________________________
                                                            (844) 619-8022
                                                   E-mail Address: ________________________________________
                                                                     eric@athenelaw.com
                                                   Secondary E-Mail Address: _______________________________
                                                                                 n/a


                                                                  12/9/21
         This application has been approved for the court on: _______________________________________




                                                                       David A. O'Toole, Clerk
                                                                       U.S. District Court, Eastern District of Texas



                                                                       By _______________________________________
                                                                       Deputy Clerk




Application Instructions
Complete page 1 and 2 of this Application and Email to phv@txed.uscourts.gov for approval. Once
approved, the clerk will email to you your new Login and   Password so that you will be able to
electronically file your application and pay the $100 fee on    line. If you already have a login and
password, you will still need to wait for approval email   from the clerk before filing your                   Email Application
electronic application.    For Complete Instructions please visit the website
http://www.txed.uscourts.gov/
